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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RALPH HOLMES, et al., on behalf of themselves )
and all others similarly situated,            )
                                              )
                                Plaintiffs,   )             Case No. 11 C 2961
                                              )
                v.                            )             Honorable Judge Young B. Kim
                                              )
JOHN BALDWIN, Acting Director of Illinois     )
Department of Corrections; et al.,            )
                                              )
                                Defendants.   )

                                    JOINT STATUS REPORT

       Pursuant to the Court’s July 30, 2018 order, Plaintiff Ralph Holmes and the other named

Plaintiffs, on behalf of themselves and the class of deaf and hard of hearing IDOC inmates

certified by the Court (“the Settlement Class”), and Defendant John Baldwin (collectively, the

“Parties”), hereby submit this joint status report:

Status of Settlement

       1.      On April 23, 2018, the Parties finalized the Stipulation of Settlement

(“Settlement”). Dkt. No. 436-2.

       2.      The Parties sought preliminary approval of the Settlement (see Dkt. No. 435),

which the Court granted on April 30, 2018 (see Dkt. No. 438).

       3.      After effectuating notice to the Settlement Class, the Parties sought final approval

of the Settlement (see Dkt.446). On July 26, 2018, the Court held a fairness hearing about the

Settlement and granted the Parties’ joint motion for final approval of the Settlement and

overruled the objections. Dkt. No. 450; 454. Accordingly, the Effective Date of the Settlement is

July 26, 2018. See Stipulation of Settlement ¶23.




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       4.         On July 26, 2018, the Parties also consented to proceed in all future litigation

before the Honorable Magistrate Judge. Dkt. 451.

Schedule of Settlement Requirements

       5.         The following schedule outlines IDOC’s deadlines for certain settlement

requirements. This schedule is meant to summarize, not replace or modify in any way, IDOC’s

obligations required by the Settlement. Further, because many dates outlined herein are triggered

by another Settlement requirement, and because it is unknown the exact date when IDOC will

complete certain actions, some of these deadlines are not tied to specific calendar dates.

       6.         The Parties are in discussions concerning an issue that they have identified about

one deadline—namely, the deadline for IDOC to perform Auxiliary Aids and Services

Assessments for all inmates identified as Deaf/HoH as of the Effective Date of the Agreement.

As a result, this requirement is not reflected in this chart below.


         IDOC Deadline                                   Settlement Requirements

 7/26/2018
 Effective Date
                                        Take sufficient action so that inmates receive preliminary
                                         accommodations if (a) the inmate has requested the
                                         accommodation; (b) it is apparent to IDOC staff that an inmate
                                         requires assistance due to being Deaf/HoH; and (c) it is
                                         feasible for IDOC to provide the accommodation (¶¶54-56)
  Preliminary Accommodations            Designate at least one employee at each intake facility to serve
                                         as the Facility ADA Coordinator responsible for ensuring that
                                         necessary preliminary accommodations are provided (¶57)
                                        Take sufficient action so that if an inmate’s hearing aid is
                                         broken, IDOC evaluates whether any additional Auxiliary Aids
                                         and Services are needed during the time the inmate is without
                                         a hearing aid (¶63)
                                        Keep an adequate supply of readily available hearing aid
                                         batteries so that hearing aid batteries can be replaced promptly
            Hearing Aids                 upon a need for new batteries; hearing aid batteries shall be
                                         replaced within 48 hours after an inmate notifies IDOC of a
                                         need for new batteries (¶62)
                                        Adopt and implement a policy/procedure whereby, if an
                                         inmate’s hearing aid is broken, IDOC will exercise reasonable
                                         efforts to repair the hearing aid in a timely manner (¶63)

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        IDOC Deadline                             Settlement Requirements

                                 Take sufficient action so that Deaf/HoH inmates pay no more
                                  than other inmates in the making and receiving of telephone
 Cost of Communications and       calls, regardless of the means of the call (¶70(e))
  Access to Communications       Take sufficient action so that Deaf/HoH inmates have access
                                  to technological equipment during the same times of day and
                                  with no greater restrictions, limitations, or access than those
                                  placed on non-Deaf/HoH inmates, consistent with the terms of
                                  the Agreement (¶72)
                                 Keep abreast of evolving technology and add additional
   Technological Equipment        equipment/services (beyond VRI, TTY, videophones and
                                  amplified phones) to reflect technological advances, as
                                  warranted and subject to financial considerations (¶71)
                                 Deaf/HoH individuals shall be permitted to use TTY machines
                                  and Video Phones without hand restraints (¶81)
                                 New televisions purchased for inmate use shall support open
                                  or closed captioning (¶74)
                                 Movies shown through the IDOC system will include either
                                  open or closed captioning (¶75)
                                 Any television in a common area of a facility that houses
  Audio-Visual Media Closed
                                  Deaf/HoH inmates must be set so that the captioning is turned
         Captioning
                                  on at all times (¶75)
                                 Deaf/HoH inmates shall be permitted to purchase televisions
                                  which support open or closed captioning with the inmates own
                                  funds to the same extent that non-Deaf/HoH inmates are
                                  allowed to purchase televisions (¶76)
                                 Begin making reasonable efforts to provide a safe and
  Tactile Notification System     effective tactile notification system consistent with the terms
                                  of the Agreement (¶78)
                                 Take sufficient action so that qualified Deaf/HoH inmates are
                                  not denied employment opportunities unless, after conducting
 Equal Opportunity to Prison      an individualized assessment, including consultation with the
        Employment                inmate, it is determined that the Deaf/HoH inmate cannot
                                  perform the functions of the employment opportunity with or
                                  without reasonable accommodation (¶79)
                                 Take sufficient action so that Deaf/HoH inmates are not
                                  transferred, solely because of being Deaf/HoH, to a higher
                                  security prison or a prison which does not offer comparable
      Transfers/Housing           programming to the inmates current facility (¶82)
                                 Take sufficient action so that if a Deaf/HoH inmate requests to
                                  be housed with another Deaf/HoH inmate, IDOC shall
                                  consider such request (¶83)
8/25/2018
30 days from Effective Date
                                 Offer ID cards to those already identified as Deaf/HoH (¶¶43-
                                  44)
     Identification Cards        Offer ID cards to any newly identified Deaf/HoH inmates
                                  within 30 days of the inmates being so identified (¶¶43-44)


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        IDOC Deadline                             Settlement Requirements

9/24/2018
60 days from Effective Date
                                 Enter into contract with Chicago Hearing Society to retain one
  Auxiliary Aids & Services       or more Qualified Specialists (QS) to perform AASAs (¶45)
    Assessment (AASA)            Retain Certified Deaf Interpreter (CDI) for AASAs when
                                  necessary (¶46)
                                 Implement a policy/procedure relating to removal of handcuffs
    Hand Restraint Policy         for when communicating through ASL, consistent with the
                                  Agreement (¶80)
10/24/2018
90 days from Effective Date
                                 Adopt policy and procedure requiring a HS as part of Intake
                                  Physical Exams for all inmates and Periodic Physical Exams
                                  for inmates who self-report or found to have hearing loss (¶32)
            Hearing
                                 Implement procedure where can request a HS and receive
        Screenings (HS)
                                  within 30 days (¶34)
                                 Prominently display notice of right to request a HS and
                                  provide notice to inmates who do not have access to the notice
                                  (¶35)
                                 Adopt policy and procedure whereby inmates whose HS
                                  indicates may be Deaf/HoH must be referred for an AE and
 Audiological Evaluation (AE)
                                  must receive an AE within certain specified periods (¶36)
                                 Maintain results of all AE in the inmates’ medical files (¶38)
                                 Maintain a centralized database to include specific
                                  requirements on Deaf/HoH inmates, as set forth in Agreement
                                  (¶¶38-42)
     Centralized Database
                                 Promptly and regularly update the centralized database and
                                  make it accessible to all IDOC personnel who are responsible
                                  for IDOC’s ADA compliance (¶¶38-42)
                                 Comply with VRI requirements in the Agreement, including
                                  VRIs for medical issues at facilities that house Deaf/HoH
                                  inmate (¶70a)
                                 Have at least two TTY units or equivalent technology at
Telephones and Video Remote
                                  facilities that house Deaf/HoH Inmates, and comply with other
     Interpreting (VRI)
                                  TTY requirements in Agreement, including TTYs enabled to
                                  access Relay (¶70b)
                                 Any VRI, TTY, VP, amplified phones shall be kept in good
                                  working order (¶70)
11/23/2018
120 days from Effective Date
                                 Provide Hearing Screenings as part of (a) all Intake
                                  Examinations and (b) Periodic Physical Exams for inmates
                                  who self-report or have been found to have hearing loss during
      Hearing Screenings          Intake (¶33)
                                 Maintain results of all HS in the inmates’ medical files (¶38)




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        IDOC Deadline                              Settlement Requirements

                                  Take sufficient action so that inmates identified as Deaf/HoH
                                   in AE will receive an AASA from a QS within 30 days of the
                                   AE Report, and the QS will consult with the inmate and the
                                   Agency ADA Coordinator and/or the Facility ADA
                                   Coordinator in the facility where the inmate is housed (¶¶48-
                                   49)
                                  Take sufficient action so that the QS follows certain principles
                                   in making the AASA (¶52)
                                  Take sufficient action so that the QS memorializes the AASA
  Auxiliary Aids & Services        determinations per the requirements of the Agreement (¶¶50,
    Assessment (AASA)              53)
                                  Take sufficient action so that AASA determinations are
                                   implemented promptly following the ASSA, at no cost to the
                                   inmate, consistent with the Agreement (¶¶51, 60, 65, 77)
                                  Take sufficient action so that information concerning the
                                   AASs identified in the AASA as required for the inmate to
                                   communicate effectively is made available to whoever is
                                   providing the inmate AASs (¶64)
                                  By this date, all IDOC personnel who interface with inmates
                                   during the Intake process must have received training on
                                   responding to requests for Auxiliary Aids and Services (¶58)
                                  Take sufficient action so that reasonable efforts will be made
                                   to secure, in a timely manner, hearing aids for inmates whose
         Hearing Aids
                                   AASA indicate they should be provided a hearing aid or
                                   hearing aids (¶61)
        Staff Training            Develop materials for annual ADA training (¶66)
                                  Ensure all written orientation materials are in plain written
                                   English (¶69)
                                  Ensure all orientation videos have closed captioning and ASL,
                                   which has been reviewed by IDHHC or Qualified Interpreter
                                   (¶69)
                                  Separate orientation for those identified as Deaf/HoH with
Orientation & Rights Materials     interpreter if necessary (¶69)
                                  Front row of seats in orientation sessions reserved for disabled
                                   inmates (¶69)
                                  Update each orientation manual with “rights materials” and
                                   distribute updated materials to current inmates (¶84)
                                  Provide current Deaf/HoH inmates and future Deaf/HoH
                                   inmates new Orientation manual (¶85)
           Monitoring             IDOC Report Due (¶89)
12/23/2018
150 days from Effective Date
         Staff Training           Conduct ADA training and related training (¶¶67, 68)
                                  Court shall conduct hearing with IDOC and class counsel
          Monitoring               (¶91)




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        IDOC Deadline                              Settlement Requirements

1/22/2019
180 days from Effective Date
                                  Pre-owned audio visual equipment should display open/closed
  Audio-Visual Media Closed        captioning (¶73)
         Captioning               Only purchase products that can support open/closed
                                   captioning (¶73)
                                  Provide tactile notification system, visual/tactile notification
                                   for events (visitors, meals, showers, etc) (¶78)
  Tactile Notification System     Ensure visual/tactile notification for “warning shots” (¶78)
                                  Deaf/HoH inmates will be notified/trained on systems (¶78)

1/26/2019
6 months from Effective Date
                                  Have at least one Videophone (VP) at all facilities that house a
         Video Phones              Deaf/HoH inmate (¶70)
                                  Access to VRS/1-800 numbers (¶70)
3/23/2019
240 days from Effective Date

          Monitoring              IDOC Report Due (¶89)

4/26/2019
9 months from Effective Date
                                  Have two or more amplified phones with amplification to at
                                   least 55 decibels at all facilities where Deaf/HoH inmates are
     Amplified Telephones
                                   houses, and comply with other requirements for amplified
                                   phones (¶70)
                                  Court shall conduct hearing with IDOC and class counsel
          Monitoring
                                   (¶91)
Approximate Dates for Monitoring Reports and Hearings
(first two years of agreement)
           7/21/2019              IDOC Report Due (¶89)

                                  Court shall conduct hearing with IDOC and class counsel
           8/20/2019
                                   (¶91)
          11/18/2019              IDOC Report Due (¶89)

                                  Court shall conduct hearing with IDOC and class counsel
          12/18/2019
                                   (¶91)
           3/17/2020              IDOC Report Due (¶89)
                                  Court shall conduct hearing with IDOC and class counsel
           4/16/2020
                                   (¶91)
           7/15/2020              IDOC Report Due (¶89)

                                  First date in which IDOC may petition for Termination (¶¶104,
           7/26/2020
                                   107)


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 30 days of when Illinois General Assembly fully appropriates a budget and Governor authorizes
 funds to IDOC for payment
              Fees
                                      IDOC to voucher the entire amount of attorneys’ fees within
                                       30 days (¶97)

                                                      Dated: August 6, 2018

                                                      RESPECTFULLY SUBMITTED,

                                                      By:     /s/ Robert L. Michels______
                                                      One of the attorneys for Plaintiffs

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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on August 6, 2018, a copy of the foregoing

was served via CM/ECF on all counsel of record.



                                                   /s/ Robert L. Michels_____________
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